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                 UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA        )
                                )
                                )
v.                              )     Case No. 22-cr-00070
                                )
LUCAS DENNEY                    )
                                )
               Defendant        )
                                )



        DEFENDANT LUCAS DENNEY’S MOTION TO PROCEED
                    IN FORMA PAUPERIS




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      NOW comes Defendant Lucas Denney, by and through his undersigned

counsel of record William L. Shipley, and files this Motion to Proceed In Forma

Pauperis.

      Pursuant to Rule 24 of the Federal Rules of Appellant Procedure,

Defendant Lucas Denney files this motion to proceed in forma pauperis on his

appeal from the judgment entered by this Court on October 14, 2022.

      Since filing the Notice of Appeal on October 31, 2022 undersigned

counsel has made several attempts to ensure Defendant Denney was in

possession of Form 4 of the Appendix of Forms to show Defendant Denney’s

inability to pay; however, Defendant Denney was then transferred from

Northern Neck Regional Jail to FCI Florence. Since such transport,

undersigned counsel has yet to make contact.

      However, previously, a report regarding Defendant Denney’s financial

status has been presented to the Court in the presentencing report. Based on

such information, this Court decided Defendant Denney did not have the

financial means to pay a fine. Defendant Denney’s financial status has not

changed. See EFC. No. 76.

      Should this Court require, undersigned will continue to make contact

and supply Defendant Denney with a copy of Form 4 and will file the completed

form with the Court.

      This Court sentenced Defendant Denney to 52-months of imprisonment

applying 4-point enhancement under U.S.S.G. § 2A2.2(b)(2)(B) and a 2-point

enhancement under U.S.S.G. § 2A2.2(b)(1). Defendant Denney still takes the
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same position as he did during sentencing—the 4-point and 2-point

enhancements do not apply. Thus, Defendant Denney wishes to raise those

issues on appeal.



Dated: December 11, 2022                 Respectfully submitted,

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